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ay IN THE UNITED STATES DISTRICT COGRT); [3 Pn 1G
(o FOR THE DISTRICT OF MARYLAND 7 PY FP 4g
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UNITED STATES OF AMERICA > GBERSEXL AT BALTIMORE
v. : CRIMINAL NOP OK O=-1 Gr
GERALD THOMAS JOHNSON, : (Possession with Intent to Distri
: Cocaine, 21 U.S.C. § 841(a)(1); Aiding
a.k.a. Geezy, : and Abetting, 18 U.S.C. § 2)
Defendant.
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INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that:
On or about June 30, 2016, in the District of Maryland, the defendant,

GERALD THOMAS JOHNSON,
a.k.a. Geezy,

did knowingly and intentionally possess with intent to distribute a mixture or substance
containing a detectable amount of cocaine, a Schedule II controlled substance, in violation of
Title 21, United States Code, Section 841(a)(1).

21 U.S.C. § 841(a(1)
18 U.S.C. §2

 
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FORFEITURE

The Grand Jury further finds that:

 

I. Upon conviction of the controlled substance offense alleged in Count One of this

Indictrnent, the defendant shall forfeit to the United States of America any property constituting
or derived from, proceeds obtained, directly or indirectly, as a result of, and any property used,
or intended to be used, in any manner or part to commit or facilitate the commission of such
violation.

2. If any of the property described above, as a result of any act or omission of the

defendant:

 

cannot be located upon the exercise of due diligence:

has been transferred or sold to, or deposited with, a third party,

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value: or

has been commingled with other property which cannot be divided
without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property.

21 ULS.C. § 853; 28 U.S.C, § 2461(c); Fed. R. Crim. Proc. 32.2(a)

 

 
 

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Vor, \\; Von “

ROD J. ROS ENSTEIN
United RO Attorney

 

 

A TRUE BILL:

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Date: [SB Durrf 2ore

 

 

 

 
